  23-10164-smr Doc#267 Filed 08/24/23 Entered 08/24/23 12:38:30 Ntc/Hrg BK int ptys Pg
                                       1 of 1
                      UNITED STATES BANKRUPTCY COURT
                             Western District of Texas

                                                                 Bankruptcy Case
                                                                                 23−10164−smr
                                                                            No.:
                                                                    Chapter No.: 7
                                                                          Judge: Shad Robinson
IN RE: ASTRALABS Inc , Debtor(s)




                                         NOTICE OF HEARING

PLEASE TAKE NOTICE that a hearing will be held

     at   Austin Courtroom 1, Homer Thornberry Judicial Bldg., 903 San Jacinto, Austin, TX 78701

     on   8/30/23 at 10:00 AM

     Hearing to Consider and Act Upon the Following: (Related Document(s): 207 Application to Employ PEAK
     Technology Partners, LLC as Investment Banker to the Trustee and Estate (21 Day Objection Language) filed
     by Jay Ong for Trustee Randolph N Osherow ) Hearing Scheduled For 8/30/2023 at 10:00 AM at Austin
     Courtroom 1 ...Prior court approval through CM/ECF is required to appear by WebEx or by phone for this
     hearing. ... Five calendar days before the hearing, exhibits MUST be: (1) mailed to U.S. Bankruptcy Court,
     Attn: Jennifer Lopez, Homer Thornberry Judicial Bldg., 903 San Jacinto, Suite 322, Austin, TX 78701 and (2)
     emailed to Sarah Wood at sarah_wood@txwb.uscourts.gov and Jennifer Lopez at
     jennifer_lopez@txwb.uscourts.gov....You MUST also email Jennifer Lopez and Sarah Wood and request a
     special setting if your time estimate for both sides exceeds 30 minutes. (Lopez, Jennifer)


Dated: 8/24/23
                                                           Barry D. Knight
                                                           Clerk, U. S. Bankruptcy Court




                                                                                           [Hearing Notice (BK)] [NtchrgBKap]
